              Case 22-10602-JKS   Doc 221-1   Filed 09/22/22   Page 1 of 9




                                      Exhibit 1

                                  Bidding Procedures




13799547.v1
               Case 22-10602-JKS             Doc 221-1        Filed 09/22/22        Page 2 of 9




                                        BIDDING PROCEDURES1

         By the Sale Motion dated September 1, 2022, Agway Farm & Home Supply LLC (the
“Debtor”) sought approval of, among other things, the procedures by which they will determine
the highest or otherwise best price for the sale of the Debtor’s Assets, including, but not limited
to: (i) the brand/trademark portfolio, domain name/registration, dealer agreements and customer
list, and certain equipment (the “Purchased Assets”) as described in the Asset Purchase Agreement
dated as of August 31, 2022 (the “Agreement”), by and between the Debtor, as seller, and True
Value Company, L.L.C. (the “Stalking Horse Bidder”), as buyer, a copy of which is attached as
Exhibit A to the Sale Order; and (ii) any or all of the Debtor’s remaining assets (the “Remaining
Assets”).

       On September 22, 2022, the United States Bankruptcy Court for the District of Delaware
(the “Court”) entered an order (the “Bidding Procedures Order”) that, among other things,
authorized the Debtor to determine the highest or otherwise best price for the Assets through the
process and procedures set forth therein and herein (the “Bidding Procedures”).

       Unless expressly indicated, the Bidding Procedures apply to all Bidders for both the
Purchased Assets and the Remaining Assets.

                                       Access to Diligence Materials

       To participate in the bidding process and to receive access to due diligence (the “Diligence
Materials”), an entity (as defined in the Bankruptcy Code) must submit to the Debtor an executed
confidentiality agreement in the form and substance satisfactory to the Debtor.

       An entity who qualifies for access to Diligence Materials shall be a “Preliminary Interested
Bidder.” All requests for Diligence Materials must be directed to the Debtor.

        For any Preliminary Interested Bidder who is a competitor of the Debtor or is affiliated
with any competitor of the Debtor, the Debtor reserves the right, following consultation with the
Consultation Parties, to withhold any Diligence Materials that the Debtor determines are business-
sensitive or otherwise not appropriate for disclosure to such Preliminary Interested Bidder at such
time.

        The Debtor shall provide the Stalking Horse Bidder with access to all written Diligence
Materials, management presentations, on-site inspections, and other information provided to any
Preliminary Interested Bidder that were not previously made available to the Stalking Horse Bidder
as soon as reasonably practicable and in no event later than one (1) business day after the date the
Debtor made such information available to any Preliminary Interested Bidder; provided, however,
that this requirement shall be deemed satisfied by the Debtor if such information is posted to the
data room established by the Debtor. Neither the Debtor nor any of its representatives will be
obligated to furnish any information relating to the Assets to any entity other than to the Stalking
Horse Bidder and Preliminary Interested Bidders. The Debtor makes no representations or

1
  Capitalized terms used but not defined herein shall have the meanings set forth in the Bidding Procedures Order or
the Agreement, as applicable.


13799547.v1
              Case 22-10602-JKS         Doc 221-1      Filed 09/22/22      Page 3 of 9




warranty as to the information to be provided through this due diligence process or otherwise,
except to the extent set forth in the Agreement or in any other definitive agreement the Debtor
executes with a Successful Bidder (as defined herein).

                                    Bid Qualification Process

       To be eligible to participate in the Auction (as defined herein), each offer, solicitation, or
proposal (each, a “Bid”), and each entity submitting such a Bid (each, a “Bidder”), must be
determined by the Debtor, in consultation with the Consultation Parties, to satisfy each of the
following conditions (other than the Bid of the Stalking Horse Bidder):

               (a)     Form: The Bid must: (i) be in writing; (ii) disclose the identity of each entity
               that will be bidding for the assets or otherwise participating in connection with such
               Bid (provided, however, that if the entity that is the Bidder is a special purpose
               vehicle or other entity without existing operations (as determined by the Debtor, in
               consultation with the Consultation Parties) the Bid must disclose the identity or
               identities of each ultimate owner or participant in the entity that is the Bidder); (iii)
               be in the form of a duly authorized, executed, and non-contingent purchase
               agreement, together with all schedules, exhibits, and related documents thereto; and
               (iv) include clearly marked versions of the Bid against the Agreement and the
               proposed Sale Order showing all changes requested by the Bidder.

               (b)    Good Faith Deposit: The Bid must be accompanied by a cash deposit in an
               amount equal to $108,750 to be held in trust by the Debtor’s counsel (the “Good
               Faith Deposit”).

               (c)     Assets: The Bid must clearly identify which Assets the Bidder intends to
               purchase and which liabilities and obligations the Bidder agrees to assume or pay.
               For the avoidance of doubt, a Bid may be a bid on the Assets in either (i) individual
               lots (by brand and/or by division or any other combination), (ii) as a collective
               whole, or (iii) in any combination.

               (d)     Same or Better Terms: The Bid must be on terms and conditions that are
               substantially the same as or better than, not more burdensome in any material way
               than, and no more conditional than the terms of the Agreement, as determined by
               the Debtor, in consultation with the Consultation Parties. Without limiting the
               foregoing, the Bid may not contain additional representations and warranties,
               covenants, termination rights, covenants, financing or due diligence contingencies,
               or closing conditions, other than as may be included in the Agreement (it being
               agreed and understood that such Bid shall modify the Agreement as needed to
               comply in all respects with the Bidding Procedures Order and will remove
               provisions that apply only to the Stalking Horse Bidder as the stalking horse bidder,
               such as the Break-up Fee).

               (e)    Corporate Authority: The Bid must include written evidence reasonably
               acceptable to the Debtor, in consultation with the Consultation Parties,
               demonstrating that the Bidder has full power and authority (including full corporate

                                                  2
13799547.v1
                  Case 22-10602-JKS              Doc 221-1         Filed 09/22/22        Page 4 of 9




                    or other organizational power and authority) to consummate the proposed
                    transaction contemplated by the Bid.

                    (f)     Proof of Financial Ability to Perform: To the extent that the Bid is not
                    accompanied by evidence of the Bidder’s capacity to consummate the transaction
                    contemplated by the Bid with unrestricted and fully available cash, the Bid must
                    include written evidence of a firm, irrevocable commitment for financing or other
                    evidence of ability to consummate the proposed transaction, documented to the
                    satisfaction of the Debtor, in consultation with the Consultation Parties, by the
                    submission of recent financial documentation (audited, if available), that will allow
                    the Debtor (in consultation with the Consultation Parties) to make a reasonable
                    determination as to the financial and other capabilities of the Bidder to consummate
                    the transaction contemplated by the Bid.

                    (g)    Contingencies: The Bid may not be conditioned on obtaining financing,
                    obtaining any internal approval, or on the outcome or review of due diligence, but
                    may be subject to the accuracy in all material respects of specified representations
                    and warranties at the Closing.

                    (h)     Irrevocable: The Bid must be irrevocable through the Auction; provided,
                    however, that if such Bid is accepted as the Successful Bid or a Backup Bid (each
                    as defined herein), such Bid shall continue to remain irrevocable, subject to the
                    terms and conditions of the Bidding Procedures until two days after the Closing
                    Date.

                    (i)     Bid Deadline. Regardless of when an entity qualifies as a Preliminary
                    Interested Bidder, the following entities must receive a Bid in writing, transmitted
                    via email (in .pdf or similar format) so as to be received no later than 5:00 p.m. on
                    or before October 10, 2022 (the “Bid Deadline”):2 (i) the Debtor,
                    jay.quickel@agway.com; (ii) counsel to the Debtor, Shulman Bastian Friedman &
                    Bui LLP, Attn: Alan J. Friedman, afriedman@shulmanbastian.com, Melissa Lowe,
                    mlowe@shulmanbastian.com, and Max Casal, mcasal@shulmanbastian.com;
                    Morris James LLP, Attn: Jeffrey Waxman, jwaxman@morrisjames.com, and Brya
                    Keilson, bkeilson@morrisjames.com; and (iii) counsel to the Committee, Pachulski
                    Stang Ziehl & Jones LLP, Attn: Bradford J. Sandler, bsasndler@pszjlaw.com and
                    Paul J. Labov, plabov@pszjlaw.com.

                    (j)    Amount of Bid. Each Bid must clearly show the amount of the purchase
                    price and if a bid is for more than one Asset, an allocation of the purchase price
                    across the individual Assets. In addition, a Bid (either standing alone or in
                    combination with other Bids) for the Purchased Assets must include a cash
                    purchase price that is in an amount equal to at least $819,250, which consists of (i)
                    the consideration set forth in the Agreement in the amount of $725,000, plus (ii)
                    $72,500, plus (iii) the amount of the Break-up Fee of $21,750.


2
    Unless expressly stated otherwise, all references to time refer to prevailing Eastern Time.

                                                             3
13799547.v1
              Case 22-10602-JKS        Doc 221-1      Filed 09/22/22     Page 5 of 9




               (k)     Affirmative Statement. Each Bid shall be accompanied by an affirmative
               statement that: (i) all Bidders submitting such Bid have acted in good faith
               consistent with section 363(m) of the Bankruptcy Code; (ii) all Bidders submitting
               such Bid have and will continue to comply with the Bidding Procedures; and (iii)
               the Bid does not entitle such Bidder (other than the Stalking Horse Bidder) to, and
               such Bidder disclaims any right to, any expense reimbursement or break-up,
               termination, or similar fee or payment, and (iv) all Bidders submitting such Bid
               waive any substantial contribution (administrative expense) claims under section
               503(b) of the Bankruptcy Code related to the bidding for the Debtor’s assets or
               otherwise participating in the Auction.

               (l)     Consent to Jurisdiction as Condition to Bidding. All entities that participate
               in the bidding process of the Auction (as defined herein) shall be deemed to have
               knowingly and voluntarily submitted to the exclusive jurisdiction of the United
               States Bankruptcy Court for the District of Delaware with respect to all matters
               related to the terms and conditions of the transfer of Purchased Assets, the Auction,
               and any transaction contemplated by the Bidding Procedures Order.

               (m)    Covenant Against Anti-Competitive Behavior. Each Bid shall be
               accompanied by a written covenant by the Bidder agreeing not to, without
               permission from the Debtor, affirmatively contact any of the Debtor’s employees,
               contractors, vendors, or material customers from the date of such Bid until the
               Auction. If the Bidder defaults with respect to the foregoing covenant, the Bid may
               be deemed by the Debtor, in its reasonable business judgment, in consultation with
               the Consultation Parties, to not be a Qualified Bid.

               (n)     Acknowledgement and Representation. Each Bid shall include an
               acknowledgement and representation (i) that the Bidder has had an opportunity to
               conduct all due diligence regarding the Debtor’s assets prior to submitting its bid
               and that it has relied solely upon its own independent review, investigation, and
               inspection of any documents and assets in making its Bid, and (ii) confirms the
               Bidder’s completion of all due diligence required by such Bidder and does not
               include any due diligence contingencies as further defined in paragraph (g) herein.

        The Debtor will review each Bid received from a Bidder to determine, in conjunction with
the Consultation Parties, whether it meets the requirements set forth herein and in the Bidding
Procedures Order. A Bid received from a Bidder before the Bid Deadline that meets the above
requirements shall constitute a “Qualified Bid,” and such Bidder shall constitute a “Qualified
Bidder.” The Debtor shall attempt to inform Bidders whether or not their Bids have been
designated as Qualified Bids by the Debtor no later than twenty-four (24) hours after such Bids
are received to either address any questions with respect to the Bid, if there are any, or to confirm
that such Bid has been deemed a Qualified Bid. Notwithstanding anything herein to the contrary,
upon payment of the deposit by the Stalking Horse Bidder, (a) the Agreement submitted by the
Stalking Horse Bidder shall be deemed a Qualified Bid, and (b) the Stalking Horse Bidder is a
Qualified Bidder. Prior to the Auction, the Debtor shall provide copies of all Qualified Bids to all
Qualified Bidders, including the Stalking Horse Bidder, at the same time.


                                                 4
13799547.v1
              Case 22-10602-JKS         Doc 221-1      Filed 09/22/22      Page 6 of 9




        All entities that participate in the bidding process or the Auction (as defined herein) shall
be deemed to have knowingly and voluntarily submitted to the exclusive jurisdiction of the Court
with respect to all matters related to the terms and conditions of the transfer of the Debtor’s assets,
the Auction, and any transaction contemplated by the Bidding Procedures Order.

                                               Auction

        If one or more Qualified Bids (other than the Agreement submitted by the Stalking Horse
Bidder) is received by the Bid Deadline, the Debtor will conduct an auction (the “Auction”) to
determine the highest or otherwise best Qualified Bid. If no Qualified Bid (other than the
Agreement) is received by the Bid Deadline, no Auction shall be conducted and the Agreement
shall be deemed to be the Successful Bid, the Stalking Horse Bidder shall be deemed to be the
Successful Bidder, and the Debtor will seek approval of the Agreement and the Stalking Horse
Bid at the Sale Hearing. All creditors and Qualified Bidders may attend the Auction but only
Qualified Bidders may participate in the Auction.

        The Auction shall take place on October 12, 2022 at 10:00 a.m., at the offices of Morris
James LLP, 500 Delaware Avenue, Suite 1500, Wilmington, DE, or such other place and time as
set by the Debtor, in consultation with the Consultation Parties, after providing notice to all
proposed attendees. All parties other than Debtor’s local counsel may attend the Auction via Zoom
video conference pursuant to instructions to be provided no later than twenty-four (24) hours prior
to the Auction.

               (a)     The Debtor Shall Conduct the Auction. The Debtor shall direct and preside
               over the Auction in consultation with the Consultation Parties, and the Auction will
               be stenographically recorded. Each Qualified Bidder participating in the Auction
               must confirm that it has not engaged in any collusion with respect to the bidding or
               sale of the Debtor’s assets.

               Only Qualified Bidders will be entitled to make any Bids at the Auction.

               Prior to the start of the Auction, the Debtor will share with all Qualified Bidders
               the highest or otherwise best Qualified Bid received by the Bid Deadline (the
               “Baseline Bid”). Qualified Bidders will be permitted to revise, increase, and/or
               enhance their Qualified Bids at the Auction in a manner that would make their
               Qualified Bids higher or otherwise better than the Baseline Bid (as determined by
               the Debtor, in consultation with the Consultation Parties). All Qualified Bidders
               will have the right to make additional modifications to their Qualified Bid or
               Agreement, consistent with the Bidding Procedures, as applicable, at the Auction.
               The Stalking Horse Bidder may credit bid the amount of the Break-up Fee in
               connection with any subsequent modification to the Agreement.

               Notwithstanding the foregoing, the Debtor, in consultation with the Consultation
               Parties, shall have the right to: (i) negotiate with any of the Qualified Bidders
               participating in the Auction; (ii) increase or decrease the bidding increments
               throughout the Auction; (iii) conduct the Auction in a format which maximizes the
               value of the Assets, which may include an open cry auction, one or more rounds of

                                                  5
13799547.v1
              Case 22-10602-JKS        Doc 221-1      Filed 09/22/22     Page 7 of 9




               sealed bidding, or any combination of the foregoing and/or other means; (iv) reject
               a Bid; (v) request additional information of any Bidder necessary to clarify a Bid
               or determine the highest or best offer; and (vi) modify these Bidding Procedures,
               as the Debtor, in consultation with the Consultation Parties, deems necessary in its
               reasonable business judgment.

               (b)     Terms of Overbids. An “Overbid” is any Bid made at the Auction
               subsequent to the Debtor’s announcement of the Baseline Bid that satisfies each of
               the following:

                      (i)     Minimum Overbid Increment. The Minimum Overbid Increment
                      shall be $10,000, provided, however, the Debtor, in consultation with the
                      Consultation Parties, may modify the Minimum Overbid Increment to
                      something more than $10,000 at any time before or during the Auction.

                      (ii)    Remaining Terms Are the Same as for Qualified Bids. Except as
                      modified herein, an Overbid must comply with the conditions for a
                      Qualified Bid set forth herein; provided, however, that the Bid Deadline
                      shall not apply. Any Overbid must remain open and binding on the Bidder
                      until and unless the Debtor accepts a higher Overbid.

                      (iii)  Credit Bid of Break-up Fee. In the event a Qualified Bidder submits
                      a Qualified Bid that is higher than that of the Stalking Horse Bidder, the
                      Stalking Horse Bidder shall be allowed to credit bid the amount of the
                      Break-up Fee in any Overbids.

               (c)      Successful Bidder. The Auction shall continue until the Debtor determines
               in its reasonable business judgment (in consultation with the Consultation Parties)
               that there is a highest or otherwise best Qualified Bid at the Auction (a “Successful
               Bid,” and each Bidder submitting such Successful Bid, a “Successful Bidder”). The
               Auction shall not close unless and until all Bidders who have submitted Qualified
               Bids have been given a reasonable opportunity, as determined by the Debtor, to
               submit an Overbid at the Auction to the then-existing Overbids and the Successful
               Bidder has submitted fully executed sale and transaction documents memorializing
               the terms of the Successful Bid.

               (d)     Backup Bidder. Notwithstanding anything in the Bidding Procedures to the
               contrary, if an Auction is conducted, the entity with the second highest or otherwise
               best Qualified Bid at the Auction, as determined by the Debtor, in the exercise of
               its business judgment, will be designated as the backup bidder (the “Backup
               Bidder”). The Backup Bidder shall be required to keep its initial Bid (or, if the
               Backup Bidder submitted one or more Overbids at the Auction, its final Overbid)
               (the “Backup Bid”) open and irrevocable until the earlier of (i) the closing of the
               transaction with the Successful Bidder or (ii) thirty days following entry of the Sale
               Order (the “Outside Backup Date”), subject to the Stalking Horse Bidder’s rights
               under the Agreement. Following the Sale Hearing, if the Successful Bidder fails to
               consummate an approved transaction), the Debtor shall proceed to consummate the

                                                 6
13799547.v1
              Case 22-10602-JKS        Doc 221-1      Filed 09/22/22     Page 8 of 9




               Backup Bid with the Backup Bidder. A hearing to authorize a sale to the Backup
               Bidder will be held before the Court on no less than five (5) days’ notice, with
               objections due at least one (1) day prior to such hearing (the “Backup Sale
               Hearing”). For the avoidance of doubt, the scope of such hearing shall be limited
               to issues relating to the identity of the Backup Bidder.

               (e)     Closing the Auction. Within twenty-four (24) hours following the
               conclusion of the Auction, the Debtor shall file a notice on the Court’s docket
               identifying (with specificity) the Successful Bidder for the Purchased Assets and
               any applicable Backup Bidder. Subject to the fiduciary duties of the Debtor or its
               management or board of directors, attorneys, financial advisors or other
               professionals, or the Committee, its counsel and its financial advisors, the Debtor
               shall not consider any Bids submitted after the conclusion of the Auction and any
               and all such Bids shall be deemed untimely and shall under no circumstances
               constitute a Qualified Bid.

                                           Sale Hearing

        The Court has scheduled a hearing on October 14, 2022 at 12:00 p.m., at which the Debtor
will seek approval of the transactions contemplated by the agreement with the Successful Bidder
(the “Sale Hearing”).

                                  Return of Good Faith Deposit

        The Good Faith Deposits of all Qualified Bidders shall be held in Debtor’s counsel’s client
trust account but shall not become property of the Debtor’s estate absent further order of the Court.
The Good Faith Deposit of any Qualified Bidder that is neither the Successful Bidder nor the
Backup Bidder shall be returned to such Qualified Bidder not later than two (2) business days after
the Closing. If the Successful Bidder timely closes the transaction contemplated by the Successful
Bid, its Good Faith Deposit shall be credited towards its purchase price. The return of the Good
Faith Deposit of the Successful Bidder or the Back-Up Bidder who fails to close the transaction
shall be determined by the terms of the applicable agreement.

                                       Consultation Parties

        The term “Consultation Parties” shall mean the Committee, the Committee’s counsel, and
the Committee’s financial advisor. To the extent that a member of the Committee or their
respective affiliates put forth a Bid, such member of the Committee shall not be a Consultation
Party. The Debtor shall consult with the Consultation Parties as required by these Bidding
Procedures. Any failure to specifically identify consultation rights in any section of these Bidding
Procedures shall not limit or otherwise impair the rights of the Consultation Parties to consult with
the Debtor.

                                         Fiduciary Duties

      Notwithstanding anything to the contrary contained herein, nothing in the Bidding
Procedures will prevent the Debtor or its management or board of directors, attorneys, financial

                                                 7
13799547.v1
              Case 22-10602-JKS      Doc 221-1     Filed 09/22/22   Page 9 of 9




advisors or other professionals, or the Committee, its counsel and its financial advisors from
exercising their respective fiduciary duties under or otherwise complying with applicable law.

                                             ***




                                              8
13799547.v1
